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                                       Cause No. 2020-20587
                                                                                                            ARBIX
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 SPECTRUM         MH, LLC, AND                                       IN THE DISTRICT COURT                    8C




                                                   LL
 SPECTRUM         MHU, LLC




                                                   SL
          Plaintiffs,




                                                   SL
                                                   SL
 v.                                                                  164™ JUDICIAL DISTRICT




                                                   SL
                                                   LD
 CHRISTOPHER BRAN, CBMJ




                                                   LL
 INVESTMENTS & DEVELOPMENT,
 LLC, MONTROSE MULTIFAMILY II




                                                   SL
 HOLDINGS, LLC, AND URBANONE




                                                   LT
 PROPERTIES, LLC



                                                   LD
                                                   LD
          Defendants.                                                HARRIS COUNTY, TEXAS

                                                   Ln


ORDER GRANTING PLAINTIFFS’ MOTION TO CONFIRM ARBITRATION AWARD
                       AND FINAL JUDGMENT




         On this day, came     for hearing, the Plaintiffs’ Motion   to Confirm    Arbitration Award

(“Motion”), filed by Plaintiffs Spectrum MH, LLC and Spectrum MHU, LLC (“Spectrum”). The

Court having considered the Motion, the response and the argument and evidence presented by the

parties at the hearing, if any, finds that the relief requested in the Motion should be GRANTED. It

is therefore,

         ORDERED        that the Arbitration Award executed by Joseph “Tad” Halbach on June 14,

2021 in Spectrum MH, LLC and Spectrum MHU,              LLC v. Christopher Bran, CBMJ Investments

and Development, LLC, Montrose Multifamily II, Holdings, LLC, and UrbanOne Properties, LLC,

Case No. 01-20-0015-1047 before the American Arbitration Association, attached as Exhibit A to

the Motion (hereafter the “Award”), is hereby confirmed. It is therefore,

         ORDERED, ADJUDGED           and DECREED that judgment be and is hereby entered by this

Court in Spectrum’s favor in accordance with and conforming to the Award, a true copy of which



                                                                                        EXHIBIT 14
           Case 22-90323 Document 26-14 Filed in TXSB on 10/18/22 Page 2 of 3




is attached hereto as Exhibit A, which is incorporated herein for all purposes as if repeated

verbatim, to such an extent that the Award is by this order now a judgment of this Court. It is

further,

           ORDERED,      ADJUDGED       and DECREED that Spectrum is entitled to, in addition to the

relief granted in the Award made a judgment of this Court, and shall recover from Defendants

jointly and severally, all costs of this court proceeding and any legal interest beyond that provided

in the Award, if provided by law, at the maximum legal rate and in the maximum legal amount,

from date of this judgment until this judgment is paid in full..

           This is a final judgment as to all parties and all claims and is appealable for all purposes.

           All writs and processes as necessary for enforcement of this final judgment shall issue as

necessary.




SIGNED on this             day of                 , 2021.

                                                    Signed:             LA       TAT
                                                 7/16/2021       Lot

                                                   The Honorable C. Elliott Thornton
                                                  Presiding Judge




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APPOVED AS TO FORM AND CONTENT:

HOOVER    SLOVACEK LLP

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